Jen DeMaster

From:                                   Adams, Charles <Charles.Adams@sheboyganwi.gov>
Sent:                                   Tuesday, December 20, 2022 8:43 AM
To:                                     'wolfenterprisesynergy@gmail.com'; Attorney Jennifer DeMaster
Cc:                                     Majerus, Liz; 'Jill Pedigo Hall'
Subject:                                Directives letter
Attachments:                            Letter to TW - Notice of Investigation, Directives.PDF


Dear Todd:

Attached please find a directives letter I am sending on behalf of the common council related to the investigation being
carried out by Attorney Jill Hall. I understand you are meeting with her today. Please review the letter carefully in
preparation for your meeting with her. Similar letters were sent to the other City employees who are being interviewed
in the course of the investigation.

I hope all is well.

Chuck Adams



Charles C. Adams
City Attorney
City of Sheboygan
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Local government is the foundation of democracy, if it fails, democracy will fail--Robert W. Flack




NOTICE: This e-mail may contain confidential information and is intended only for the individual named. If you are not the intended recipient,
you should not disseminate, distribute or copy this e-mail; please notify the sender immediately and delete this e-mail from your system.
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                                                                                                                        EXHIBIT
                                                                                                                                          exhibitsticker.com




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            City of
Sheboygan                December 19, 2022
spirit on the lake.


                                          FOR INTERNAL DISSEMINATION ONLY BY
                                   CITY ATTORNEY ON BEHALF OF THE COMMON COUNCIL

                         Re:        Notice oflnvestigation and Need to Cooperate, and Directives


                         Dear Administrator Wolf,

                         The Common Council has requested I send you this letter. It is being presented
                         to you as part of an administrative investigation conducted by the City of
                         Sheboygan into your communications, conduct and leadership and certain
                         allegations of inappropriate and illegal conduct made by you. The goal of this
                         investigation is to obtain complete, objective, and impartial findings related to
                         certain allegations that have been made. To that end, and because the it is priority
                         to have a respectful, productive workplace culture in the City, we have hired an
                         outside attorney experienced in conducting investigations, Jill Pedigo Hall, to
                         carry out this process. In order to ensure a fair and objective investigation, you
                         are directed to fully cooperate with Attorney Hall in this investigation, including
                         to follow the directives set forth in this memo. It is my understanding that you
                         will be participating in a Zoom interview today.

                         You should regard these directives as essential job duties. Please keep in mind
                         the fundamental expectations of your position, including the responsibility that
                         you treat all persons with professional respect, dignity, and with full regard for
                         the consequences of your behavior as a City employee. Fulfilling that
                         expectation is essential during this time and is appreciated and valued.
                         Your duty to cooperate with this inquiry requires, but is not limited to, your
                         compliance with the following specific directives.

                               •    Confidentiality: You are directed to keep confidential the existence and
                                    content of this letter and this inquiry, and your discussion with Attorney
                                    Hall regarding any aspect of the inquiry. You may not share such
                                    information with any other persons, unless a lawful reason affirmatively
                                    permits or requires you to disclose such information. For example, if you
                                    have a legal right to a representative as a function of your position within
                                    the City, then you may disclose certain information to that representative.
CITY ATIORNEY'S OFFICE              However, you will be required to provide notice to Attorney Hall that
                                    you intend to make such disclosure prior to doing so and provide the
CITY HALL                           reason for the disclosure.
828 CENTER AVENUE
SUITE 210
SHEBOYGAN, WI 53081                 The purpose of this confidentiality instruction is to safeguard the welfare
                                    and privacy of all individuals involved.             Maintaining required
920/459·3917                        confidentiality will also fulfill the following necessary aspects of this
FAX 920/459-3919                    investigation:
                                        o Compliance with City policy.
www.sheboyganwi.gov
           o   Preservation of any privileges necessary for the City to protect its
               interests pursuant to this inquiry.
           o   Protection of individuals involved and participating in this matter
               from retaliatory, intimidating or harassing conduct.
           o   Preservation of the integrity and effectiveness of the inquiry.
           o   Your protection as a participant in this inquiry and to protect the
               City and you as City Administrator.

Your obligation to keep the above-stated information confidential exists until
you are formally and expressly relieved of this direction by me.

   •   Truthfulness: You are directed to answer all questions posed to you by
       the Attorney Hall truthfully and completely. This directive to answer
       questions truthfully, completely, and with forthrightness is essential for
       purposes of the effectiveness of this inquiry. Your failure to do so may
       be treated as insubordination and the City may draw adverse inferences
       based on your failure to comply with this order.

   •   No Retaliation: You are prohibited from engaging in any retaliatory,
       intimidating, or harassing conduct against any person who participates in
       this inquiry. In tum, the City will not tolerate retaliatory conduct directed
       at you for your participation in this inquiry. This instruction is essential
       and your complete compliance is necessary. The City will not tolerate
       retaliatory conduct, including but not limited to backhanded comments,
       cold-shouldering, undermining, and other disrespectful behavior that has
       no place among professionals. In the event that you become aware of any
       retaliatory, intimidating, or harassing conduct against any participant in
       this inquiry, please notify the attorney interviewer and me immediately.

   •   Requests for Information:        In the event you are asked to provide
       records, then we ask for your cooperation. If you object, then please
       apprise the interviewer of the reasons for your objection. Those
       objections will then be considered. If a lawful basis exists for the City to
       obtain these records, then you will be expected to comply with a directive
       to provide such records. Under no circumstances are you permitted to
       modify, alter, delete, or destroy any records related to your employment,
       any official or unofficial City business, or any records germane to this
       matter including, but not limited to, electronic records, such as text
       messages, email messages, social media posts and other messaging.

This inquiry is designed to get to the truth. It is vital that no City employee
engages in any conduct in contravention of these directives. Our goal is to gain
an understanding of the factual basis behind concerns expressed regarding your
communications and conduct and also to determine whether there is factual
support for the allegations, so that we can resolve any legitimate concerns and
create a more productive and positive work environment. Thank you for assisting
in this process.

If you have any questions regarding these directives, then please immediately
forward those questions to me. The directives are effective immediately.




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(            cc: Jill Pedigo Hall, von Briesen & Roper, s.c. via email
                 Liz Majerus, Assistant City Attorney




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